                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:09-00262
                                                    )      JUDGE CAMPBELL
TERRY KRETZ                                         )

                                            ORDER

       The Court held a hearing on July 18, 2014. At the hearing counsel for Defendant requested

a continuance of the sentencing hearing. The Court granted the request.

       The sentencing hearing is RESCHEDULED for August 15, 2014, at 10:30 a.m. Any

supplemental materials must be filed by August 8, 2014.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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